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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

 NPG, LLC d/b/a WELLNESS                       )
 CONNECTION and HIGH STREET                    )
 CAPITAL PARTNERS, LLC,                        )
                                               )
        Plaintiffs,                            )
                                               )
 v.                                            )
                                               )
 THE CITY OF PORTLAND,                         )    Docket No. 2:20-cv-00208-NT
                                               )
        Defendant.                             )



                          JOINT MOTION TO CONTINUE STAY

       The parties move jointly to extend the stay in this case by 30 days, until December 4, 2020:

       On the parties’ joint motion, the Court stayed this case until November 4, 2020 in order to

give the Portland City Council time to amend its marijuana licensing ordinance and remove the

two challenged residency-related criteria. On October 19, 2020 the City Council voted to amend

the ordinance, eliminate the licensing matrix, and issue retail cannabis licenses to all qualified

applicants that had submitted applications before September 1, 2020. Once this amendment takes

effect, the parties agree that this lawsuit will be moot and should be dismissed. The parties

anticipate that the ordinance will take effect by November 18, 2020 and tentative approvals will

be issued shortly thereafter. Until this occurs, the parties agree that this lawsuit should remain

stayed. They therefore ask the Court to extend the stay 30 days, until December 4, 2020.

       Dated: November 4, 2020                       /s/Anne M. Torregrossa
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                                                    Inc.


                                CERTIFICATE OF SERVICE

        I hereby certify that on November 4, 2020, I have electronically filed the Joint Motion to
Continue Stay, using the CM/ECF system, which will send notification of such filing to all counsel
of record.

                                                    /s/Matthew Warner
                                                    Matthew Warner, Maine Bar No. 4823
                                                    Alexandra Harriman, Maine Bar No. 6172


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